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 10
      Counsel to Defendant
 11   CALLFIRE, INC.
 12                          UNITED STATES DISTRICT COURT
 13                         CENTRAL DISTRICT OF CALIFORNIA
 14                                   WESTERN DIVISION
 15
 16   LEE WIGOD, individually and on               Case No. 2:19-cv-02874-SVW-MAA
      behalf of all others similarly situated,
 17                                                Assigned for all purposes to
                       Plaintiff,                  Judge Stephen V. Wilson
 18         v.                                     CALLFIRE, INC.’S NOTICE
 19                                                MOTION AND MOTION TO
      CALLFIRE, INC.,                              DISMISS
 20                    Defendant.                  Hearing Date: June 24, 2019
 21                                                Time:         1:30 P.M.
                                                   Place:        10A
 22                                                Complaint filed: April 15, 2019
 23
      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 24
            PLEASE TAKE NOTICE that on June 24, 2019 at 1:30 p.m. before the
 25
      Honorable Stephen V. Wilson in Courtroom 10A of the United States District Court
 26
      for the Central District of California, located at 350 W. 1st Street, 10th Floor Los
 27
      Angeles, California 90012, Defendant CallFire, Inc. (“CallFire”) will and hereby
 28
                                                           CALLFIRE, INC.’S MOTION TO DISMISS
                                                 -1-                    2:19-cv-02874-SVW-MAA
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  1   does move the Court for an Order dismissing with prejudice all claims asserted
  2   against it pursuant to Federal Rule of Civil Procedure 12(b)(6). CallFire seeks
  3   dismissal on grounds that Plaintiff fails to state a plausible cause of action with the
  4   specificity required by Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and
  5   Ashcroft v. Iqbal, 556 U.S. 662 (2009).
  6         This Motion is based upon this Motion; the Memorandum of Points and
  7   Authorities in support of the Motion; the papers and pleadings on file with the
  8   Court, including any reply papers to be filed; and such other written or oral
  9   argument as may be presented at the hearing on this Motion.
 10         This Motion is made following the conference of counsel pursuant to Local
 11   Rule 7-3, which occurred on May 16, 2019.
 12   Dated: May 24, 2019                        Respectfully submitted,
 13
 14
 15                                          By: /s/ Michael B. Hazzard
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 24
                                                 Counsel to Defendant
 25                                              CALLFIRE, INC.
 26
 27
 28
                                                           CALLFIRE, INC.’S MOTION TO DISMISS
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